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 1   David B. Rosenbaum, 009819
     Joshua J. Messer, 035101
 2   OSBORN MALEDON, P.A.
     2929 North Central Avenue, 21st Floor
 3   Phoenix, Arizona 85012-2793
     (602) 640-9000
 4   drosenbaum@omlaw.com
     jmesser@omlaw.com
 5
     Additional Counsel Listed on Signature Page
 6
 7   Attorneys for Plaintiffs

 8
                        IN THE UNITED STATES DISTRICT COURT
 9
10                              FOR THE DISTRICT OF ARIZONA

11    Tohono O’odham Nation, Gila River Indian        No. 2:22-cv-00509-PHX-SRB
      Community, Keanu Stevens, Alanna                (Consolidated)
12    Siquieros, and LaDonna Jacket,
13                         Plaintiffs,
                                                      STIPULATION TO EXTEND
14    v.                                              PLAINTIFFS’ DEADLINE TO
15                                                    RESPOND TO MOTION TO
      Mark Brnovich in his official capacity as       DISMISS (First Request)
16    Attorney General of Arizona; Katie Hobbs,
      in her official capacity as Arizona Secretary
17    of State; Dana Lewis in her official capacity
      as Pinal County Recorder; Gabriella
18    Cázares-Kelly in her official capacity as
      Pima County Recorder; Stephen Richer in
19    his official capacity as Maricopa County
      Recorder; Michael Sample in his official
20    capacity as Navajo County Recorder,
21                         Defendants.
22
23          Plaintiffs Tohono O’odham Nation, Gila River Indian Community, Keanu

24   Stevens, Alanna Siquieros, and LaDonna Jacket and Defendant Attorney General of

25   Arizona, through undersigned counsel, hereby stipulate and jointly request that

26   Plaintiffs’ deadline to respond to Defendant’s Motion to Dismiss (Doc. 197) be

27   extended by two weeks from its current date of January 26, 2023, through and including

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 1   February 9, 2023. Plaintiffs have requested this extension, and the Attorney General
 2   has agreed, to have sufficient time to address the many issues raised in the Motion and
 3   incorporated by reference from the prior consolidated motion to dismiss, and also to
 4   receive guidance on whether the new administration may reconsider some or all of the
 5   positions asserted in the Motion. A proposed Order accompanies this Stipulation.
 6         DATED this 17th day of January, 2023.
 7
                                        OSBORN MALEDON, P.A.
 8
                                        By     s/ Joshua J. Messer
 9                                             David B. Rosenbaum
                                               AZ No. 009819
10                                             Joshua J. Messer
                                               AZ No. 035101
11                                             2929 North Central Avenue, 21st Floor
                                               Phoenix, Arizona 85012-2793
12                                             (602) 640-9000
                                               drosenbaum@omlaw.com
13                                             jmesser@omlaw.com
14                                      GILA RIVER INDIAN COMMUNITY
                                             Thomas L. Murphy
15                                           AZ No. 022953
                                             Javier G. Ramos
16                                           AZ No. 017442
                                             Post Office Box 97
17                                           Sacaton, Arizona 85147
                                             (520) 562-9760
18                                           thomas.murphy@gric.nsn.us
                                             javier.ramos@gric.nsn.us
19                                           Representing Gila River Indian
                                             Community Only
20
                                        NATIVE AMERICAN RIGHTS FUND
21                                          Allison A. Neswood*
                                            CO No. 49846
22                                          neswood@narf.org
                                            Michael S. Carter
23                                          AZ No. 028704, OK No. 31961
                                            carter@narf.org
24                                          Matthew Campbell*
                                            NM No. 138207, CO No. 40808
25                                          mcampbell@narf.org
                                            Jacqueline D. DeLeon*
26                                          CA No. 288192
                                            jdeleon@narf.org
27                                          NATIVE AMERICAN RIGHTS FUND
                                            1506 Broadway
28                                          Boulder, CO 80301
                                             2
     Case 2:22-cv-00509-SRB Document 222 Filed 01/17/23 Page 3 of 4



 1                                     (303) 447-8760 (main)
 2                                     Samantha B. Kelty
                                       AZ No. 024110, TX No. 24085074
 3                                     kelty@narf.org
                                       NATIVE AMERICAN RIGHTS FUND
 4                                     950 F Street NW, Suite 1050,
                                       Washington, D.C. 20004
 5                                     (202) 785-4166 (direct)
 6                                     Ezra Rosenberg*
 7                                     DC No. 360927, NJ No. 012671974
                                       Jim Tucker**
 8                                     AZ No. 019341
                                       Lawyers’ Committee for Civil Rights
 9                                     Under Law
10                                     1500 K Street NW, Suite 900
                                       Washington, DC 20005
11                                     (202) 662-8600 (main)
12                                     erosenberg@lawyerscommittee.org
                                       jtucker@lawyerscommittee.org
13                               TOHONO O’ODHAM NATION
14                                   Howard M. Shanker (AZ Bar 015547)
                                     Attorney General, Tohono O’odham
15                                   Nation
                                     Marissa L. Sites (AZ Bar 027390)
16                                   Assistant Attorney General, Tohono
                                     O’odham Nation
17                                   P.O. Box 830
                                     Sells, Arizona 85634
18                                   (520) 383-3410
                                     Howard.Shanker@tonation-nsn.gov
19                                   Marissa.Sites@tonation-nsn.gov
                                     Harrison.Rice@tonation-nsn.gov
20                                   Representing Tohono O’odham Nation
                                     Only
21                                     *Pro Hac Vice Forthcoming
22                                     **Admitted in Arizona and Nevada only.
                                       Practice limited to matters before federal
23                                     courts.

24                                      Attorneys for Plaintiffs

25
26                               FENNEMORE CRAIG, P.C.

27                               By s/ Emily Ward (w/ permission)
                                        Douglas C. Northup (No. 013987)
28                                      Timothy J. Berg (No. 004170)
                                        3
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 1                                     Emily Ward (No. 029963)
 2                                     2394 E. Camelback Road, Suite 600
                                       Phoenix, Arizona 85016
 3                                     Telephone: (602) 916-5000
                                       DNorthup@fennemorelaw.com
 4                                     TBerg@fennemorelaw.com
 5                                     EWard@fennemorelaw.com
                                       Attorneys for Defendant Mark Brnovich,
 6                                     Arizona Attorney General
 7
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